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 16                    UNITED STATES DISTRICT COURT
 17               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 18                                           Case No. 13-md-2452-AJB-MDD
 19   IN RE: INCRETIN-BASED
      THERAPIES PRODUCTS LIABILITY            MEMORANDUM OF POINTS AND
 20                                           AUTHORITIES IN SUPPORT OF
      LITIGATION
                                              DEFENDANTS’ MOTION FOR
 21                                           SUMMARY JUDGMENT BASED ON
                                              PREEMPTION
 22
                                              Date:         To be determined
 23                                           Time:         To be determined
                                              Courtroom:
 24                                           Judge:        Hon. Anthony J. Battaglia
                                              Magistrate:   Hon. Mitchell D. Dembin
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  1                                      INTRODUCTION
  2          Four years ago, this Court found clear evidence that the FDA would have
  3   rejected the addition of pancreatic cancer warnings to the package inserts of sitagliptin
  4   (a DPP-4 inhibitor), exenatide (a GLP-1 receptor agonist), and liraglutide (also a GLP-
  5   1 receptor agonist)—the three medications at issue in this multi-district litigation. The
  6   Court therefore dismissed all of plaintiffs’ claims, holding:
  7
             The doctrine of impossibility preemption presents a legal question for
  8          judges to decide, rather than a factual determination reserved for juries;1
  9          The FDA “specifically considered”2 and “actively investigated”3
             pursuant to its Congressionally-delegated authority4 whether exposure
 10
             to these medications causes an increased risk of pancreatic cancer;
 11
             Based on the FDA’s comprehensive analysis, the Agency concluded in
 12          February 2014 that “assertions concerning a causal association between
 13
             incretin-based drugs and pancreatitis or pancreatic cancer, as expressed
             recently in the scientific literature and in the media, are inconsistent
 14          with the current data” and “the current knowledge is adequately
 15
             reflected in the product information or labeling;”5 and

 16          The FDA’s continuing assessment of relevant scientific data has not
             changed the Agency’s judgment, based on applicable regulatory
 17          requirements, that the data do not support addition of pancreatic cancer
 18          warnings to the labels of these products.6

 19   The United States Court of Appeals for the Ninth Circuit did not disagree with these
 20   determinations, but held that the Court should consider so-called “new safety
 21

 22   1
          In re Incretin-Based Therapies Prods. Liab. Litig., 142 F. Supp. 3d 1108, 1114
 23       (S.D. Cal. 2015).
      2
          Id. at 1112.
 24   3
          Id. at 1121.
      4
 25       Id. at 1126.
      5
          Id. at 1122 (emphases added); see also Amy G. Egan et al., Pancreatic Safety of
 26       Incretin-Based Drugs – FDA and EMA Assessment (“FDA Assessment”), N. Engl.
 27       J. Med. 370:9 at 796 (Feb. 2014) (emphases added) (attached as Ex. A to the
          Declaration of Paul E. Boehm (“Boehm Decl.”)).
 28   6
          142 F. Supp. 3d at 1121, 1123.
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  1   information” and permit supplemental fact discovery concerning: (1) foreign
  2   regulatory materials, and (2) source files related to spontaneous adverse event reports.
  3   Those materials have been produced—together with several million additional pages
  4   of documents plaintiffs requested—bringing the collective volume of defendants’
  5   productions in this litigation to more than 37 million pages, 92 custodial files, and
  6   more than 2,300 gigabytes of additional raw data.
  7         Nothing has changed to warrant a different conclusion. The United States
  8   Supreme Court has confirmed that preemption is a legal question for judges to decide.
  9   Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668 (2019). And the factual
 10   record supporting preemption has only grown more compelling. Since 2015, the FDA
 11   has considered and approved labels for four additional incretin-based therapies,
 12   expanded indications for others, and approved more than 50 additional label changes
 13   for the medications at issue in this MDL—all without requiring a pancreatic cancer
 14   warning. Despite the FDA’s ability to mandate label changes and its stated intent to
 15   “continue to investigate” the relationship between incretin-based therapies and
 16   pancreatic cancer, the Agency has not required any of the medicines at issue to
 17   mention, let alone warn about any risk of, pancreatic cancer in their labels.
 18         Meanwhile, after persuading the Ninth Circuit to reinstate those portions of Dr.
 19   Fleming’s (plaintiffs’ regulatory expert) report stricken by this Court, plaintiffs
 20   proceeded to withdraw those sections entirely, leaving the expert record on
 21   preemption exactly as it was in 2015—no expert for plaintiffs is willing or able to say
 22   that the “new safety information” plaintiffs argue was “missing” or otherwise not
 23   considered by the FDA is material to the FDA’s conclusions. The uncontroverted
 24   evidence is to the contrary, and Dr. Fleming agreed under oath that “it would be a
 25   little absurd” for the FDA to approve a pancreatic cancer warning in light of its
 26   conclusions that the scientific evidence is “inconsistent” with a causal association.7
 27
      7
          G. Alexander Fleming, M.D. Deposition Tr. (May 22, 2015) at 201:21–202:1
 28
          (relevant portions attached as Ex. B to Boehm Decl.).
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  1                                             FACTS
  2          Today, as in 2015, the undisputed facts provide clear evidence that the FDA
  3   would reject a pancreatic cancer warning for these products:
  4          1.    This MDL proceeding involves medications approved by the FDA for the
  5   treatment of type 2 diabetes—sitagliptin (Januvia/Janumet), exenatide
  6   (Byetta/Bydureon), and liraglutide (Victoza). Plaintiffs’ claims are premised on the
  7   allegation that defendants failed to warn about their respective medications’ purported
  8   risk of pancreatic cancer.
  9          2.    Sitagliptin belongs to a class of medications referred to as DPP-4
 10   inhibitors. Exenatide and liraglutide belong to a class of medications referred to as
 11   GLP-1 receptor agonists. These two classes of medication, DPP-4 inhibitors and
 12   GLP-1 receptor agonists, sometimes are collectively referred to as “incretin-based
 13   therapies” because—notwithstanding their different mechanisms of action—each class
 14   involves incretin hormones, which operate in the body to lower blood sugar by
 15   stimulating or sustaining production of insulin.
 16          3.      More than 34 million people in the United States alone, more than 1 out
 17   of 10 Americans, suffer from type 2 diabetes.8 Different treatment options need to be
 18   available for individuals with type 2 diabetes because, given the chronic nature of the
 19   disease, patients often require a variety of options and/or a combination of
 20   medications over time to control their blood sugar.
 21          4.    Incretin-based therapies are an approved treatment option for patients
 22   with type 2 diabetes. All leading medical organizations in the diabetes field
 23   recommend them, including, in particular, for patients with (or at high risk for) heart
 24   disease, those with established kidney disease, and those at high risk for
 25
 26
      8
 27       See American Diabetes Association, Statistics About Diabetes, available at
          https://www.diabetes.org/resources/statistics/statistics-about-diabetes (attached as
 28
          Ex. C to Boehm Decl.).
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   1   hypoglycemia or weight gain.9
   2           5.    Under the federal Food, Drug, and Cosmetic Act (“FDCA”), Congress
   3   has committed regulatory authority over the approval and sale of prescription
   4   medications to the FDA, including considerable authority over the content of
   5   prescription medication labeling. 21 U.S.C. § 355(d), (o); 21 C.F.R. pt. 201.
   6   Pharmaceutical manufacturers, or sponsors, must submit proposed labeling to the
   7   FDA as part of the new drug-approval process. See 21 C.F.R. § 314.50. Securing
   8   initial FDA approval of a new drug is predicated, in part, on a manufacturer’s use of
   9   FDA approved product labeling and package inserts. Id.; 21 C.F.R. § 314.105(b).
  10           6.    When the FDA has approved incretin-based medicines as safe and
  11   effective, the Agency necessarily has also approved the labeling, including warnings
  12   and adverse reactions, for the medications.
  13           7.    The FDA has its own, independent statutory obligation to ensure that
  14   labels reflect the most recent medical science. The Food and Drug Administration
  15   Amendments Act of 2007 (FDAAA) requires the FDA to inform manufacturers when
  16   the Agency “becomes aware of new information, including any new safety
  17   information . . . that . . . should be included in the label of the drug,”10 and gives the
  18   Agency broad authority to order any labeling changes it believes are necessary.11 In
  19   July 2013, the FDA issued a new guidance addressing the impact of FDAAA on the
  20   implementation of safety labeling changes for prescription medications.12 In the
  21
       9
            See generally American Diabetes Association, 9. Pharmacologic Approaches to
  22        Glycemic Treatment: Standards of Medical Care in Diabetes—2020, Diabetes
  23        Care (Jan. 2020), available at
            https://care.diabetesjournals.org/content/43/Supplement_1/S98 (attached as Ex. D
  24        to Boehm Decl.).
       10
  25        21 U.S.C. § 355(o)(4)(A); see 21 U.S.C. § 355(o)(3)(C).
       11
            See FDA, Center for Drug Evaluation and Research, Guidance for Industry: Safety
  26        Labeling Changes – Implementation of Section 505(o)(4) of the FD&C Act (July
  27        2013), available at https://www.fda.gov/media/116594/download (attached as Ex.
            E to Boehm Decl.).
  28   12
            See id. (Ex. E).
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   1   guidance, the FDA notes that “the definition of new safety information [under the Act]
   2   is broad [enough] to enable FDA to require application holders to add information
   3   about serious risks to the labeling of a drug when the Agency determines that such
   4   information should be included.”13
   5           8.     In general, if a manufacturer wants to amend its labeling post-marketing,
   6   it must first obtain FDA approval through the submission of a “prior approval
   7   supplement” (“PAS”).14 The regulations, however, include a limited exception to the
   8   “prior approval” requirement by which manufacturers can add or strengthen a warning
   9   through a “changes being effected” (CBE) to reflect “newly acquired information”
  10   about the product’s safety.15 The FDA will review the contents of the CBE and the
  11   amended labeling under the same standard applied for a PAS, and will retroactively
  12   reject the CBE if it does not find that “the evidence of a causal association satisfies the
  13   standard for inclusion in the label.”16
  14           9.     “Newly acquired information” under the CBE regulation includes “data,
  15   analyses, or other information not previously submitted to the [FDA], which may
  16   include (but is not limited to) data derived from new clinical studies, reports of
  17   adverse events, or new analyses of previously submitted data (e.g., meta-analyses) if
  18   the studies, events, or analyses reveal risks of a different type or greater severity or
  19   frequency than previously included in submissions to the FDA.”17 In addition, “newly
  20   acquired information” “must provide reasonable evidence of a causal association” of a
  21   “clinically significant” risk or hazard linked to a drug.”18 Federal law does not permit
  22   a manufacturer to warn of suspected risks or to identify adverse reactions that are not
  23   scientifically substantiated.
  24
       13
  25        Id. (Ex. E) at 4.
       14
            See 21 C.F.R. § 314.70(b).
  26   15
            See id. § 314.70(c)(6)(iii); see also Albrecht, 139 S. Ct. at 1673.
       16
  27        21 C.F.R. § 314.70(c)(6)(iii)(A).
       17
            21 C.F.R. § 314.3 (emphases added).
  28   18
            21 C.F.R. § 201.57(c)(6)(i) (emphasis added).
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   1           10.   Federal law, through the FDA, imposes this standard “to prevent over-
   2   warning so that less important information does not overshadow more important
   3   information . . . [and to] exclude exaggeration of risk, or inclusion of speculative or
   4   hypothetical risks that could discourage appropriate use of a beneficial drug.’”
   5   Albrecht, 139 S. Ct. at 1673 (quotation marks and citation omitted) (emphasis added).
   6           11.   To ensure that labeling promotes federal safety goals, the FDA restricts
   7   what may be included in labeling:
   8                 “Labeling is not intended to be a dispositive treatise of all
                     possible data and information about a drug.”19
   9
  10                 Inclusion of “substantial differences of opinion among
  11
                     experts” or “other serious medical controversies” concerning
                     labeling statements “would result in uncertainty and
  12                 confusion, and, accordingly, decrease the usefulness of the
  13                 warnings in protecting the public.”20

  14                 Inclusion in “drug labeling of medical or scientific
  15                 controversy concerning labeling would be highly confusing,
                     and thus misleading, in violation of section 502(a) of the
  16                 act.”21
  17           12.   FDA approval of incretin-based therapies has never been conditioned on
  18   labeling that includes a pancreatic cancer warning,22 nor has the FDA ever required
  19

  20   19
            Labeling and Prescription Drug Advertising: Content and Format for Labeling for
  21        Human Prescription Drugs, 44 Fed. Reg. 37,434, 37,441 (June 26, 1979).
       20
            Id. at 37,448.
  22   21
            Id. at 37,455.
       22
  23        FDA approved Byetta (exenatide) in 2005; Januvia (sitagliptin) in 2006; Janumet
            (sitagliptin and metformin) in 2007; Onglyza (saxagliptin) in 2009; Victoza
  24        (liraglutide) in 2010; Tradjenta (linagliptin) in 2011; Bydureon (exenatide) in
  25        2012; Nesina (alogliptin) in 2013; Bydureon pen (exenatide extended release);
            Tanzeum (albiglutide), Trulicity (dulaglutide), and Saxenda (liraglutide) in 2014;
  26        Adlyxin (lixisenatide) in 2016; Bydureon BCise (exenatide extended release) and
  27        Ozempic (semaglutide) in 2017; and Rybelsus (oral semaglutide) in 2019. The
            FDA Approval Letters for Byetta, Januvia, Janumet, Onglyza, Victoza, Tradjenta,
  28
            Bydureon, Nesina, Bydureon pen, Tanzeum, Trulicity, Saxenda, Adlyxin,
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   1   such warning pursuant to its obligations and authority under FDAAA.
   2           13.   The FDA has monitored the pancreatic safety of incretin-based therapies,
   3   and specifically the risk of pancreatic cancer, for many years. On September 17,
   4   2009, the FDA Division of Metabolic and Endocrine Products asked the FDA Office
   5   of Surveillance and the Epidemiology Division of Pharmacovigilance to review its
   6   adverse event reporting database for cases of pancreatic cancer in Januvia and Byetta
   7   users.23 To do so, the Epidemiology Division searched the database and conducted a
   8   literature review using the National Health Institute database of publications.24 The
   9   FDA concluded that “little inference for risk [could be] appreciated from review of
  10   spontaneous reports of pancreatic cancer in adult recipients of anti-diabetics agents,”
  11   because pancreatic cancer is “relatively common” in adults.25
  12           14.   After academic researchers at UCLA theorized that incretin-based
  13   therapies might cause pancreatic cancer, the FDA announced in March 2013 that it
  14   would conduct a comprehensive evaluation of that issue.26 The FDA said that it
  15   would consider the totality of available scientific data, as well as the Agency’s own
  16   “further investigat[ion] [into the] potential pancreatic toxicity associated with the
  17   incretin mimetics.” The FDA said that upon completion of that evaluation it would
  18

  19        Bydureon BCise, Ozempic, and Rybelsus (attached as Exs. F through U,
            respectively, to Boehm Decl.).
  20   23
            See Memorandum from John Bishai, Ph.D., Regulatory Project Manager, FDA,
  21        DMEP, to Millie Wright, FDA, Office of Safety and Epidemiology (“Bishai
            Memorandum”) (Sept. 17, 2009) (attached as Ex. V to Boehm Decl.).
  22   24
            See Memorandum from Allen Brinker, Team Leader, FDA Div. of
  23        Pharmacovigilance 1, to Mary Parks, Dir., FDA Div. of Metabolism &
            Endocrinology Prods., at 2 (Dec. 10, 2009) (attached as Ex. W to Boehm Decl.).
  24        Both this memorandum and the memorandum from Dr. Bishai were obtained in
  25        response to a Freedom of Information Act request made to FDA.
       25
            Id. (Ex. W) at 8.
  26   26
            FDA, FDA Drug Safety Communication: FDA Investigating Reports of Possible
  27        Increased Risk of Pancreatitis and Pre-Cancerous Findings of the Pancreas from
            Incretin Mimetic Drugs for Type 2 Diabetes (Mar. 14, 2013) (“FDA Review
  28
            Announcement”) (attached as Ex. X to Boehm Decl.).
                                                     -7-                 Case No. 13-md-2452-AJB-MDD
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   1   “communicate its final conclusions and recommendations.”27 In the meantime, the
   2   FDA stated that it “ha[d] not concluded these [drugs] may cause or contribute to the
   3   development of pancreatic cancer,” and it advised doctors in bold print that they
   4   “should continue to follow the prescribing recommendations in the drug labels.”28
   5           15.   On February 27, 2014, the FDA announced that its “comprehensive
   6   evaluation[]” was “now complete.” The Agency “communicate[d] its final
   7   conclusions and recommendations” in a joint publication with the European
   8   Medicines Agency (“EMA”) and Dutch Medicines Evaluation Board entitled
   9   “Pancreatic Safety of Incretin-Based Drugs: FDA and EMA Assessment” in NEJM,
  10   the oldest peer-reviewed medical journal in the United States.29
  11           16.   The FDA Assessment describes the “comprehensive evaluations”
  12   independently conducted by the FDA and EMA and concludes:
  13                 Thus, the FDA and the EMA have explored multiple streams
  14
                     of data pertaining to a pancreatic safety signal associated with
                     incretin-based drugs. Both agencies agree that assertions
  15                 concerning a causal association between incretin-based
  16
                     drugs and pancreatitis or pancreatic cancer, as expressed
                     recently in the scientific literature and in the media, are
  17                 inconsistent with the current data.30
  18
               17.   The FDA also concluded:
  19
                     The FDA and the EMA believe that the current knowledge is
  20                 adequately reflected in the product information or
  21                 labeling . . . .31

  22
  23

  24   27
            Id. (Ex. X).
       28
  25        Id. (Ex. X).
       29
            FDA Assessment (Ex. A) at 795. The article was “updated” (with no changes to
  26        the conclusions) on June 5, 2014. See Corrections, N. Engl. J. Med. 370:23 (June
  27        2014) (attached as Ex. Y to Boehm Decl.).
       30
            FDA Assessment (Ex. A) at 796 (emphases added).
  28   31
            Id. (Ex. A) (emphasis added).
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   1           18.   The FDA exercised congressionally-delegated authority in undertaking,
   2   conducting, and publishing the results of its comprehensive investigation.32 Congress
   3   has delegated authority to the FDA both (i) to determine whether new safety
   4   information warrants a labeling change, and pursuant to which the FDA undertook its
   5   evaluation of incretin-based therapies,33 and (ii) to “establish and make publicly
   6   available clear written polices to . . . govern the timely submission, review, clearance,
   7   and disclaimer requirements for articles.”34
   8           19.   The FDA prepared its Assessment as an “FDA-Assigned” article and
   9   without the disclaimer that is required when “the views expressed in the article or
  10   speech do not necessarily represent the official views or policies of the agency.”35
  11           20.   After publishing the results of its comprehensive evaluation in the New
  12   England Journal of Medicine, the FDA reaffirmed that it would not approve a
  13   pancreatic cancer labeling change for incretin-based therapies.
  14           21.   On March 25, 2014, the FDA denied Public Citizen’s petition asking the
  15   Agency to withdraw Victoza from the market, based in part on a claim that patients
  16   being treated with the medication faced an increased risk of pancreatic cancer.36
  17   Noting that it had “carefully considered the information submitted in the Petition, the
  18   comments submitted to the docket, and other data identified by the Agency,”37 the
  19   FDA denied the Petition. As to pancreatic cancer, the FDA found that the data offered
  20
       32
  21        142 F. Supp. 3d at 1126.
       33
            21 U.S.C. § 355(o)(4).
  22   34
            21 U.S.C. § 379d-2(b).
       35
  23        See FDA Staff Manual Guide 2126.3, Review of FDA-Related Articles and
            Speeches § 6.A (attached as Ex. Z to Boehm Decl.); see also Fleming Tr. (Ex. B)
  24        at 84:22–84:25 (“Q: You do not in any way dispute that these are the conclusions
  25        of the FDA; is that fair? A: No. I agree. This represents FDA’s position.”).
       36
            See Letter from Janet Woodcock, Dir., FDA Center for Drug Evaluation and
  26        Research, to Drs. Elizabeth Barbehenn and Sidney Wolfe, Public Citizen’s Health
  27        Research Group (March 25, 2014) (“Public Citizen Letter”) at 26 (attached as Ex.
            AA to Boehm Decl.).
  28   37
            Id. (Ex. AA) at 1.
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   1   “no new evidence regarding the risk of pancreatic carcinoma . . . that would support
   2   any changes to the current approved labeling.”38
   3          22.   The FDA again considered the safety and efficacy of incretin-based
   4   therapies in late 2014 when it convened an Advisory Committee to consider approval
   5   of Saxenda, a higher dose of liraglutide for use in weight management. In a Briefing
   6   Book provided for the Committee, the FDA concluded: “Risk for pancreatic cancer
   7   has more recently emerged as a concern with GLP-1-based therapies, including
   8   liraglutide. . . . However, animal, observational, and clinical trial data reviewed by
   9   FDA to date have not supported a causal association.”39 Referring to its February
  10   2014 Assessment, the FDA added: “Both FDA and the European Medicines Agency
  11   (EMA) have explored multiple data streams to evaluate pancreatic toxicity as a
  12   potential drug safety signal, which to date, do not support pancreatic cancer as an
  13   incretin mimetic-mediated event.”40
  14          23.   Since February 2014, the FDA has approved at least eight new incretin-
  15   based therapies—Bydureon pen (2014), Tanzeum (2014), Trulicity (2014), Saxenda
  16   (2014), Adlyxin (2016), Bydureon BCise (2017), Ozempic (2017), and Rybelsus
  17   (2019)—all without a pancreatic-cancer warning.
  18          24.   In July 2017, the FDA convened an Advisory Committee to evaluate a
  19   proposed new cardiovascular risk reduction indication for liraglutide based on the data
  20   from the LEADER study. In advance of the meeting, the FDA prepared a Briefing
  21   Book, which included a detailed summary of the FDA’s review and evaluation of the
  22   pancreatic safety of Victoza and other incretin-based therapies. The FDA also
  23   conducted a dedicated oncology review of the pancreatic cancer data and included the
  24   findings from that review in the Briefing Book.
  25
       38
            Id. (Ex. AA) at 26 (emphasis added).
  26   39
            FDA Briefing Document, NDA 206321 Liraglutide Injection, 3 mg, Endocrinology
  27        and Metabolic Drugs Advisory Committee Meeting, (Sept. 11, 2014) at 117
            (attached as Ex. AB to Boehm Decl.) (emphasis added).
  28   40
            Id. (Ex. AB) at 313 (emphasis added).
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   1           25.   The Agency’s review “did not identify overt pancreatic toxic effects from
   2   exposure to GLP-1 RAs” and found instead that the clinical data “were inconclusive
   3   and not sufficiently compelling to support incorporation of changes regarding the
   4   potential pancreatic cancer signal in product labeling.”41 The FDA also concluded
   5   that, “taking into consideration the totality of information available, the additional
   6   information provided in LEADER does not appear to substantively alter the original
   7   FDA and EMA conclusions regarding the lack of sufficient information to
   8   conclusively determine whether long term exposure to GLP-RAs increase the risk of
   9   pancreatic cancer.”42
  10           26.   On August 25, 2017, after the Advisory Committee meeting was held, the
  11   FDA approved an expanded indication for Victoza, to “reduce risk for major adverse
  12   cardiovascular events, myocardial infarction, stroke and cardiovascular disease in
  13   adults with type 2 diabetes and established CVD”43 without including any information
  14   about pancreatic cancer in the labeling.
  15           27.   The FDA has approved nearly 100 labeling changes for the medications
  16   at issue in this MDL since the initial approvals of these products. None of these
  17   labeling updates has included a pancreatic cancer warning. For sitagliptin (Januvia
  18   and Janumet), the FDA has approved 36 labeling changes since initial approval, most
  19   recently in August 2019.44 The FDA has approved 47 labeling updates for exenatide
  20   (Byetta and Bydureon) since it was approved, most recently in February 2020.45 The
  21

  22   41
            FDA Briefing Document for NDA 022341, Endocrinology and Metabolic Drugs
  23        Advisory Committee Meeting (June 20, 2017) (“FDA June 2017 Briefing
            Document”), at 129 (attached as Ex. AS to Boehm Decl.).
  24   42
            Id. (Ex. AS) at 133.
       43
  25        FDA Label Updates for Victoza, dated August 2017 (attached, with other label
            updates, as Ex. AC to Boehm Decl.).
  26   44
            See FDA Label Updates for Januvia and Janumet (attached collectively as Ex. AD
  27        to Boehm Decl.).
       45
            See FDA Label Updates for Byetta and Bydureon (attached collectively as Ex. AE
  28
            to Boehm Decl.).
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   1   FDA has approved 12 labeling updates for liraglutide (Victoza) since it was approved,
   2   most recently on June 17, 2019, expanding the approved use of Victoza to pediatric
   3   patients 10 years or older, making it the first non-insulin drug approved to treat type 2
   4   diabetes in children since metformin in 2000.46 In expanding the indication, the FDA
   5   stated that it “encourages drugs to be made available to the widest number of patients
   6   possible when there is evidence of safety and efficacy.”47
   7           29.   In total, the FDA now has approved five DPP-4I and eleven GLP-1RA
   8   medications for treatment of type 2 diabetes in the United States and reviewed the
   9   labeling for these medications hundreds of times over the past 15 years. The FDA
  10   never has required the labeling of any of these products to include a pancreatic cancer
  11   warning, as it would have been obligated to do under the FDAAA if the Agency
  12   believed there was “reasonable evidence of a causal relationship” between incretin-
  13   based therapies and pancreatic cancer.
  14                             PROCEDURAL BACKGROUND
  15           In June 2014, the Court denied without prejudice defendants’ summary
  16   judgment motion based on preemption to permit plaintiffs to pursue further discovery.
  17   Plaintiffs completed that discovery, and defendants moved for summary judgment
  18   again on June 19, 2015. On November 9, 2015, this Court granted defendants’
  19   motion:
  20                 Despite the high burden imposed on a preemption proponent,
  21                 the unprecedented facts of this case cross the clear evidence
                     threshold, making Defendants’ preemption defense not only
  22                 viable, but also dispositive of Plaintiffs’ failure-to-warn
  23                 claims. . . . Defendants have demonstrated by clear evidence
                     that the FDA would have rejected a reference to pancreatic
  24
       46
  25        See FDA Label Updates for Victoza (Ex. AC).
       47
            See Press Release, FDA, “FDA approves new treatment for pediatric patients with
  26        type 2 diabetes” (June 17, 2019), https://www.fda.gov/news-events/press-
  27        announcements/fda-approves-new-treatment-pediatric-patients-type-2-diabetes
            (statement of Lisa Yanoff, M.D., acting director of the Division of Metabolism and
  28
            Endocrinology Products) (attached as Ex. AF to Boehm Decl.).
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   1
                     cancer in the product labeling during the time in which
                     Plaintiffs’ claims accrued. Plaintiffs’ challenges to the FDA’s
   2                 conclusions regarding pancreatic cancer risk are insufficient
   3
                     to overcome preemption in light of the extensive regulatory
                     history of the drugs at issue. The evidence establishes the
   4                 FDA has reviewed the risk specific to Plaintiffs’ claims and,
   5                 after considering the totality of available scientific data,
                     concluded a warning or other reference to that risk is
   6                 unsubstantiated.
   7
       In re Incretin-Based Therapies Prods. Liab. Litig., 142 F. Supp. 3d 1108, 1112, 1132
   8
       (S.D. Cal. 2015) (emphasis added). The Court also concluded that the undisputed
   9
       facts in this case “establish the FDA has considered pancreatic cancer risk, the specific
  10
       issue Plaintiffs allege Defendants should have warned of or otherwise referenced in
  11
       their product labeling,” and “consistently concluded that a causal association between
  12
       the drugs and pancreatic cancer is indeterminate.” Id. at 1120–24. These actions, the
  13
       Court explained, “fall[] squarely within the FDA’s congressionally delegated authority
  14
       to regulate the safety of prescription drugs . . . [and] exemplif[y] the FDA’s approach
  15
       in discharging its regulatory duties.” Id. at 1126. In granting judgment in favor of
  16
       defendants, the Court rejected plaintiffs’ insistence that a sponsor cannot establish
  17
       preemption absent express rejection of a proposed labeling change, observing that the
  18
       “FDA’s review of pancreatic safety was more thorough than a review of relevant data
  19
       offered in connection with a CBE or PAS.” Id. at 1124–25 (emphasis added).
  20
               Plaintiffs appealed. In December 2017, the Court of Appeals for the Ninth
  21
       Circuit reversed and remanded.48 The Ninth Circuit “d[id] not decide whether the
  22
       defendants met their burden under Wyeth’s ‘clear evidence’ test,” but directed the
  23
       Court to (1) consider the materiality of the so-called “new safety information” and (2)
  24
       permit discovery into source files related to spontaneous adverse event reports and
  25
       foreign regulatory files.49 The Ninth Circuit also held that the Court should not have
  26
       48
  27        See In re Incretin-Based Therapies Prod. Liab. Litig., 721 F. App’x 580 (9th Cir.
            2017).
  28   49
            Id. at 581–84.
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   1   partially disqualified plaintiffs’ expert, Dr. Alexander Fleming, based on a conflict of
   2   interest and violations of the protective order.50
   3           On remand, the Court ordered defendants to produce the documents identified
   4   by the Ninth Circuit as well as to update previous productions and produce additional
   5   custodial files identified by plaintiffs. Id. Defendants’ supplemental productions and
   6   additional depositions are now complete.
   7           As for Dr. Fleming, plaintiffs withdrew the very opinions related to materiality
   8   that they had asked the Ninth Circuit to reinstate. Accordingly, Dr. Fleming does not
   9   offer an opinion that the “newly acquired information” plaintiffs point to would have
  10   been material to the FDA, nor does any other expert put forward by plaintiffs.51 The
  11   only expert testimony on that subject is from defendants’ expert, Dr. Lawrence
  12   Goldkind, whose unrebutted testimony is that the materials plaintiffs point to are
  13   immaterial and would not have altered the FDA’s conclusion that the scientific data
  14   do not support a pancreatic cancer warning in the labeling of incretin-based
  15   therapies.52
  16                        LEGAL STANDARD FOR PREEMPTION
  17           The Supreme Court confirmed in 2019 that preemption is a question of law for
  18   a court, not a jury, to consider. Albrecht, 139 S. Ct. at 1679–80. Preemption analysis
  19   “involves the use of legal skills to determine whether agency disapproval fits facts that
  20   are not in dispute.” Id. Courts may have to resolve “contested brute facts,” but those
  21   factual questions are “subsumed within an already tightly circumscribed legal
  22   analysis” and are “part and parcel of the broader legal question.” Id. at 1680.
  23           The Supremacy Clause “establishes that federal law ‘shall be the supreme Law
  24   of the Land . . . any Thing in the Constitution or Laws of any State to the Contrary
  25
       50
            Id. at 584.
  26   51
            Whether the evidence would have been material to the FDA is a question for the
  27        Court to decide. Albrecht, 139 S. Ct. at 1679–80.
       52
            Lawrence Goldkind, M.D. Deposition Tr. (May 28, 2015) at 80:15–88:23 (attached
  28
            as Ex. AG to Boehm Decl.).
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   1   notwithstanding.’” PLIVA, Inc. v. Mensing, 131 S. Ct. 2567, 2577 (2011) (ellipsis in
   2   original) (quoting U.S. Const. art. VI, cl. 2). “This means that when federal and state
   3   law conflict, federal law prevails and state law is preempted.” Knox v. Brnovich, 907
   4   F.3d 1167, 1173 (9th Cir. 2018) (quoting Murphy v. NCAA, 138 S. Ct. 1461, 1476
   5   (2018)). An irreconcilable conflict “arises when compliance with both federal and
   6   state regulations is a physical impossibility, or when state law stands as an obstacle to
   7   the accomplishment and execution of the full purposes and objectives of Congress.”
   8   Fid. Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 141, 153 (1982) (citations and
   9   internal quotation marks omitted); see also Durnford v. MusclePharm Corp., 907 F.3d
  10   595, 602 (9th Cir. 2018) (“[FDA] regulations have the same preemptive effect as a
  11   statute.”).
  12          In failure-to-warn cases involving FDA-approved medicines, plaintiffs must
  13   identify “the existence of ‘newly acquired information’ to support a labeling change
  14   under the CBE regulation”—specifically, “data, analyses, or other information not
  15   previously submitted to the [FDA]” that “cannot be rooted in conjecture or
  16   hypothesis” but rather “must conclusively establish, by scientifically valid measurable
  17   and statistically significant data, that the different or increased risks are actual and
  18   real,”—or their claims are preempted. Pradaxa Cases, No. CJC-16-004863, 2019
  19   WL 6043513, at *3 (Cal. Super. Ct. Nov. 08, 2019) (citing 21 C.F.R. § 314.3(b)); see
  20   also Gibbons v. Bristol-Myers Squibb, 919 F.3d 699, 708 (2d Cir. 2019) (citing In re
  21   Celexa & Lexapro Mktg. & Sales Practices Litig, 779 F.3d 34, 41 (1st Cir. 2015) and
  22   Dolin v. GlaxoSmithKline LLC, 901 F.3d 803, 812 (7th Cir. 2018)) (to state a claim
  23   that is not preempted by the FDCA, “a plaintiff must plead a labeling deficiency that
  24   [defendants] could have corrected using the CBE regulation”); McGrath v. Bayer
  25   Healthcare Pharmaceuticals, Inc. 393 F. Supp. 3d 161, 167 (E.D.N.Y. 2019) (holding
  26   that newly acquired information “must provide reasonable evidence of a causal
  27   association of a clinically significant adverse reaction linked to a drug”).
  28          Federal law also preempts state law claims where there is “clear evidence” that

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   1   the FDA would “not have approved” a warning plaintiff alleges state law requires.
   2   Wyeth v. Levine, 555 U.S. 555, 571 (2009); see Albrecht, 139 S. Ct. at 1668. “Clear
   3   evidence” is not a heightened evidentiary standard. Rather, courts must ask “whether
   4   the relevant federal and state laws ‘irreconcilably conflic[t].’” Albrecht, 139 S. Ct. at
   5   1679 (quoting Rice v. Norman Williams Co., 458 U.S. 654, 659 (1982)).
   6                                         ARGUMENT
   7           Four years ago, this Court granted defendants’ motion for summary judgment
   8   based on preemption. Nothing warrants a different conclusion today. The record in
   9   favor of preemption has only grown stronger.
  10           Preemption is an issue “for the judge.” Albrecht, 139 S. Ct. at 1679–80.
  11   Accordingly, it is for the Court to determine whether there is clear evidence that the
  12   FDA would have rejected a pancreatic cancer warning. Here, it is undisputed that the
  13   FDA (i) actively considered the very question at issue in this litigation—whether
  14   scientific evidence supports the claim that incretin-based therapies cause an increased
  15   risk of pancreatic cancer—and (ii) concluded, based on an unprecedented,
  16   comprehensive review of data from multiple sources, that a pancreatic cancer risk is
  17   unsubstantiated and the current labeling is adequate. As this Court previously
  18   recognized, “an indeterminate causal association falls below the federal regulatory
  19   standards required for labeling changes.”53
  20           Meanwhile, in the years since the FDA published its conclusions in the New
  21   England Journal of Medicine, the FDA has continued to approve incretin-based
  22   therapies as well as to review and approve more than 50 labeling changes to the
  23   products at issue in this MDL, always without requiring a pancreatic cancer warning.
  24   I.      There is Clear Evidence the FDA Would Have Rejected Pancreatic Cancer
  25           Warnings in the Labeling of Sitagliptin, Exenatide, and Liraglutide.

  26           This Court concluded in 2015 that “the record suggests the FDA’s review of
  27   pancreatic safety was more thorough than a review of relevant data offered in
  28   53
            142 F. Supp. 3d at 1112.
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   1   connection with a CBE or PAS.” 142 F. Supp. 3d at 1124–25. Nothing in the updated
   2   record warrants a change in that conclusion.
   3           Still, plaintiffs have argued in the past, and may argue again, that preemption is
   4   unavailable unless a manufacturer submits, and the FDA rejects, a CBE. Under
   5   plaintiffs’ theory, the FDA could decide to evaluate specific risk information, publicly
   6   announce its intention to conduct an assessment, perform a more robust and
   7   comprehensive evaluation of the scientific data about the potential risk than ever
   8   before, conclude that the risk is unsubstantiated based on the scientific data, publish
   9   those conclusions to the medical community and public in a highly-regarded medical
  10   journal—and none of that matters if the manufacturer did not first request a CBE. The
  11   Court rejected that argument in 2015.
  12                 [A]lthough Plaintiffs argue a defendant must submit a CBE
  13
                     or PAS to warrant preemption, Plaintiffs do not establish the
                     FDA’s substantial review of pancreatic safety was different
  14                 from what the FDA would have done in response to a CBE.
  15
                     In fact, the record suggests the FDA’s review of pancreatic
                     safety was more thorough than a review of relevant data
  16                 offered in connection with a CBE or PAS. Instead of
  17                 reviewing data submitted by an individual manufacturer, the
                     FDA considered a variety of data sources related to the entire
  18                 class of incretin mimetics. It also conducted its own studies
  19                 and reevaluated data submitted by manufacturers in reaching
                     its own conclusions. If Defendants had submitted a CBE or
  20                 PAS, which the FDA subsequently rejected, clear evidence
  21                 would exist and Plaintiffs’ claims would be conflict
                     preempted. The facts of this matter are different in form only.
  22                 Although there was no CBE or PAS submission, the FDA
  23                 conducted an independent review of pancreatic safety and
                     concluded scientific evidence did not support any changes
  24                 to the product labeling. This is precisely what the FDA
  25                 would have done upon receipt of a proposed warning by
                     Defendants.54
  26

  27
  28   54
            142 F. Supp. 3d at 1125 (emphasis added).
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   1   Albrecht does not change this analysis, and courts since Albrecht have adopted the
   2   same reasoning. The Supreme Court expressly stated: “The question of disapproval
   3   ‘method’ is not now before us.”55 The concurring justices in Albrecht, just as this
   4   Court did, rejected plaintiffs’ form-over-substance argument:
   5                The FDA’s duty does not depend on whether the relevant drug
                    manufacturer, as opposed to some other entity or individual,
   6
                    brought the new information to the FDA’s attention. Nor
   7                does § 355(o)(4)(A) require the FDA to communicate to the
                    relevant drug manufacturer that a label change is
   8
                    unwarranted; instead the FDA could simply consider the new
   9                information and decide not to act.56
  10   And courts considering the issue of preemption post-Albrecht continue to find that
  11   clear evidence can exist based on facts other than rejection of a CBE. See, e.g.,
  12   Ridings v. Maurice, No. 15-cv-00020, 2020 WL 1264178, at * 21 (W.D. Mo. March
  13   16, 2020) (“[I]t should not always be the case that simple inaction by the FDA in light
  14   of submitted data will always be ‘clear evidence’ that the FDA would reject a
  15   particular warning. In this case, however, in light of the known issues and the
  16   ongoing give-and-take between [the manufacturer] and the FDA on these issues . . .
  17   the FDA’s continued inaction does represent clear evidence under these facts.”).
  18          From at least September 2009, the FDA has focused on the pancreatic safety of
  19   incretin-based medications.57 In March 2013, the FDA announced that it would
  20   conduct a comprehensive evaluation of a possible association between incretin-based
  21   medications and pancreatic cancer and that it would consider the entire body of
  22   scientific research and data available to date, as well as the Agency’s own “further
  23   investigat[ion] [into the] potential pancreatic toxicity associated with the incretin
  24   mimetics.”58 In that March 2013 statement, the FDA noted that it would “evaluate all
  25
  26   55
            Albrecht, 139 S. Ct. at 1679.
       56
  27        Id. at 1684 (Alito, J. concurring).
       57
            See Bishai Memorandum (Ex. V).
  28   58
            FDA Review Announcement (Ex. X).
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   1   available data to further understand this potential safety issue.”59
   2           The FDA’s February 2014 publication in the New England Journal of Medicine
   3   reflects the result of its years-long “comprehensive” evaluation—one which included
   4   the review and analysis of the FDA’s own studies, hundreds of randomized controlled
   5   trials, animal data, toxicology studies, spontaneous reports, and more. As plaintiffs’
   6   expert Dr. Fleming testified, the FDA’s evaluation and publication was
   7   “unprecedented” and “reflects a very robust evaluation that went on for a significant
   8   period of time.”60
   9           The FDA’s conclusions were unequivocal: “assertions concerning a causal
  10   association between incretin-based drugs and . . . pancreatic cancer, as expressed
  11   recently in the scientific literature and in the media, are inconsistent with the current
  12   data” and “the current knowledge is adequately reflected in the product information or
  13   labeling.” Since that time, as the Court noted in 2015:
  14                 The FDA has also not required any of the Defendants to add
  15                 a pancreatic cancer warning, or required the inclusion of a
                     warning in newly approved incretin-based therapies. While
  16                 FDA inaction is insufficient on its own to establish
  17                 preemption, it is highly persuasive given the FDA’s
                     comprehensive review of pancreatic safety and ability to
  18
                     mandate a labeling change if it concluded the regulatory
  19                 standards were satisfied.”61
  20   This remains true. Since November 2015, the FDA has approved four new incretin-
  21   based therapies for treatment of type 2 diabetes, as well as more than 50 label changes
  22   to the medications in this MDL, never requiring the addition of a pancreatic cancer
  23   warning, notwithstanding its extensive record of attention to the question of pancreatic
  24   safety. In addition to rejecting a citizen petition to remove Victoza from the market,62
  25
       59
            Id. (Ex. X).
  26   60
            Fleming Tr. (Ex. B) at 92:13–92:16.
       61
  27        142 F. Supp. 3d at 1124.
       62
            See Public Citizen Letter (Ex. AA); see also Cerveny v. Aventis, Inc., 783 F. App’x
  28
            804, 808 n.9 (10th Cir. 2019) (rejecting plaintiffs’ argument that, post-Albrecht,
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   1   the FDA again evaluated pancreatic safety in 2017 in approving a new indication for
   2   liraglutide (Victoza). The FDA concluded that “the totality of information available,
   3   [including] the additional information provided in LEADER[,] does not appear to
   4   substantively alter the original FDA and EMA conclusions” published in the New
   5   England Journal of Medicine.63
   6            After reviewing the FDA’s robust review of these products, plaintiffs’
   7   regulatory expert effectively conceded there is clear evidence that the FDA would not
   8   have approved a pancreatic cancer warning to the labeling of these products:
   9                  Q.     Do you agree with me that it would be absurd for the
                             FDA to say, We’ve looked at all the data, we’ve done
  10
                             a comprehensive evaluation, we don’t think there’s any
  11                         evidence of causal association, but go ahead and add a
                             warning anyway?
  12

  13                  A.     It would be a little absurd.64
  14   This Court can and should find that there is “clear evidence” that the FDA would not
  15   have approved the pancreatic cancer warning that plaintiffs’ claim is missing from the
  16   products’ labels. Their failure-to-warn claims are preempted.
  17   II.      Plaintiffs’ Purported “Newly Acquired Information” Is Not Material to the
  18            FDA’s Conclusions, Nor Does it Satisfy the Requirements for a CBE.

  19            In 2015, plaintiffs argued that summary judgment should be denied because
  20   “newly acquired information” might not have been provided to the FDA that could
  21   have altered the Agency’s assessment of a pancreatic cancer warning. The Ninth
  22   Circuit directed this Court to consider the materiality of that information. The
  23
             only labeling changes sought by the manufacturer can lead to preemption and
  24         reasoning that “we see nothing in Wyeth or Albrecht excluding [the manufacturer]
  25         from justifying preemption on [the] basis” of a rejected citizen petition).
       63
             FDA June 2017 Briefing Document (Ex. AS) at 133.
  26   64
             Fleming Tr. (Ex. B) at 201:21–202:1; see also Rebuttal Expert Report of Lawrence
  27         Goldkind at 13 (attached as Ex. AH to Boehm Decl.) (“FDA either makes a
             determination that cautionary language belongs in the labeling or FDA makes a
  28
             determination that it does not belong.”).
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   1   purported “new safety information” from 2015 consisted of the following:
   2              1. A November 6, 2013 preliminary signal assessment
   3                 performed by Health Canada, the regulatory body
                     responsible for approving and monitoring prescription
   4                 medications within Canada, pursuant to that country’s laws
   5                 and regulations;
   6              2. “Clinical trial imbalance information” for sitagliptin and
   7                 liraglutide;

   8              3. Plaintiffs’ expert’s characterization of an animal study in
                     exenatide; and
   9
  10              4. A “secondary analysis” to a published animal study in
                     liraglutide.65
  11

  12   These issues must be considered on a medication-by-medication basis. Still, a few
  13   general points are worth noting at the outset.
  14           First, there is no expert (or other) evidence in the record to support the claim
  15   that any component of the purported “newly acquired information” would have been
  16   material to the FDA;66 to the contrary, the only evidence in the record concerning
  17   materiality of the purported “newly acquired information” is Dr. Lawrence Goldkind’s
  18   expert testimony that it is cumulative and repetitive of the very safety information the
  19   FDA already has considered.67
  20           Second, FDA regulations carefully define what information manufacturers
  21   should submit to the Agency, and which information may be submitted pursuant to a
  22
       65
  23        Doc. No. 1219 at 17–21.
       66
            Plaintiffs’ preemption expert, Dr. Alexander Fleming, made certain claims about
  24        materiality in his original report, which this Court struck. Although plaintiffs
  25        persuaded the Ninth Circuit to reinstate the stricken sections of Dr. Fleming’s
            report, plaintiffs subsequently decided to withdraw those same sections. In other
  26        words, the scope of Dr. Fleming’s opinions in this case remain unchanged from
  27        when this Court granted summary judgment in 2015. See Declaration of Amy J.
            Laurendeau.
  28   67
            Goldkind Tr. (Ex. AG) at 92:1–95:4, 125:1–133:1.
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   1   CBE, precisely to avoid being flooded with cumulative or irrelevant data.68 Here, the
   2   FDA affirmatively undertook a robust and “comprehensive” evaluation of the
   3   scientific information relevant to the very question at issue in this litigation—whether
   4   incretin-based therapies cause an increased risk of pancreatic cancer. The Agency’s
   5   “unprecedented” assessment of a possible association between incretin-based
   6   therapies and pancreatic cancer included the following:
   7                The FDA reviewed safety data from more than 200 clinical
   8                trials, involving more than 41,000 patients, more than 28,000
                    of whom used an incretin-based therapy. 15,000 of these
   9                participants used an incretin-based therapy for 24 weeks or
  10                more; 8,500 for 52 weeks or more. The FDA also considered
                    clinical trial data from large-scale cardiovascular-outcome
  11                trials.
  12                The FDA “re-evaluated more than 250 toxicology studies
  13                conducted in nearly 18,000 healthy animals.” These studies
                    showed “no findings of overt pancreatic toxic effects.” The
  14                Agency also found that “drug-induced pancreatic tumors
  15                were absent in rats and mice that had been treated for up to 2
                    years (their life span) with incretin-based drugs, even at doses
  16                that greatly exceed the level of human clinical exposure.”
  17                The FDA conducted “independent and blinded examination”
  18                of 120 pancreatic histopathology slides.
  19                The FDA performed independent toxicology studies with
                    exenatide, and the Agency required additional animal studies,
  20                designed to the FDA’s specifications, from each of the
  21                manufacturers in this litigation.69
  22          There is no dispute that the FDA devoted concentrated attention to this specific
  23   issue and, in doing so, determined what information was material to its conclusions—
  24   as it turned out, an extraordinary and “unprecedented” volume of information from a
  25   broad array of sources—including additional studies it required of the manufacturers
  26   and at least one study the Agency conducted on its own.
  27
       68
            See 21 C.F.R. § 314.70.
  28   69
            FDA Assessment (Ex. A) at 795.
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   1                1.     Sitagliptin (Januvia and Janumet)
   2          Plaintiffs argued in opposition to defendants’ 2015 preemption motion that the
   3   FDA might not have considered (i) a November 2013 preliminary signal assessment
   4   performed by Health Canada and (ii) evidence of a purported “clinical trial
   5   imbalance” in the clinical trial data for sitagliptin.70
   6          Health Canada Preliminary Signal Assessment. Health Canada’s 2013
   7   preliminary signal assessment, whether the FDA has reviewed it or not, cannot
   8   reasonably be considered material to the FDA’s evaluation of this issue. It also does
   9   not amount to “newly acquired information” under FDA regulation. To start,
  10   Canada’s regulation for the monitoring and labeling of prescription medicines
  11   operates under an entirely different set of laws and regulations than those in the
  12   United States. The fact that Health Canada might have reached preliminary
  13   conclusions different from those of the FDA—based on different governing
  14   regulations than those in the United States—does nothing to show that the FDA failed
  15   to consider information that would be material under United States law. See, e.g.,
  16   Ridings v. Maurice, No. 15-cv-00020, 2020 WL 1264178, at *17 (W.D. Mo. March
  17   16, 2020) (“Foreign drug labeling is the product of different and distinct regulatory
  18   standards and decisions.”).
  19          Moreover, Health Canada’s preliminary assessment does not constitute “newly
  20   acquired information” under FDA regulation for at least three reasons. First, the
  21   assessment was preliminary, and therefore cannot rise to the level of reliability and
  22   substance necessary to qualify under the definition of “newly acquired information.”
  23   See, e.g., McGrath, 393 F. Supp. 3d at 167 (“[T]he FDA contemplated that the CBE
  24   regulation would be used sparingly, noting it ‘would not allow a change to labeling to
  25   add a warning in the absence of reasonable evidence of an association between the
  26   product and an adverse event.’”) (quoting 21 C.F.R. § 201.57(c)(6)(i)). As plaintiffs
  27
  28   70
            Doc. No. 1219 at 18–19.
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   1   are aware, Health Canada subsequently updated its preliminary report, finding that
   2   “existing data do not suggest a causal relationship between incretin-based therapies
   3   and the development of [pancreatic cancer]”71 and—citing directly from the FDA’s
   4   conclusions in the New England Journal of Medicine—“concluded that there is not
   5   enough evidence at this time to confirm a link between incretin-based therapies and
   6   pancreatic cancer.”72 In other words, Health Canada agrees with the FDA’s
   7   conclusion that a causal association is unsubstantiated. There is not, nor has there
   8   ever been, a pancreatic cancer warning on the Canadian equivalent of sitagliptin’s
   9   label.
  10            Second, Health Canada’s preliminary assessment did not reveal “risks of a
  11   different type or greater severity or frequency than previously included in submissions
  12   to FDA.” It does not rely on new data at all, but rather involved an assessment of the
  13   same data streams encompassed by the FDA’s review (clinical trial data, animal
  14   studies, spontaneous adverse event reports), only less comprehensive in scope than the
  15   FDA’s review.73
  16            Third, Health Canada’s assessment did not conclude, even in preliminary
  17   fashion, that there was reasonable evidence of a causal association between sitagliptin
  18   and pancreatic cancer. See McGrath, 393 F. Supp. 3d at 167 (“newly acquired
  19   information ‘must provide reasonable evidence of a causal association of a clinically
  20
       71
  21        A. Beliveau, Health Canada, Incretin-Based Therapies and the Risk of Pancreatic
  22
            Cancer, Canadian Adverse Reaction Newsletter, 24:4 at 1 (Oct. 2014) (attached as
            Ex. AI to Boehm Decl.) (emphasis added).
       72
  23        Health Canada, Summary Safety Review – Incretin-based Therapies – Assessing
  24
            the Potential Risk of Pancreatic Cancer, Health Canada (Oct. 2016), available at
            https://hpr-rps.hres.ca/reg-content/summary-safety-review-
  25        detail.php?lang=en&linkID=SSR00126 (attached as Ex. AJ to Boehm Decl.).
       73
  26
            Health Canada’s preliminary assessment did not involve reevaluation of toxicology
            slides, the performance and evaluation of its own studies, or consideration of large-
  27        scale clinical trial data for other DPP-4I medications. See Doc. No. 1166, Ex. 7
  28        (Health Canada Signal Assessment at §§ 3.4–3.5.1, MRKJAN0000928466).

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   1   significant adverse reaction linked to a drug.’”) (quoting 21 C.F.R. § 201.57(c)(6)(i))
   2   (emphasis in original). Rather, the 2013 preliminary assessment stated only that
   3   sitagliptin “may be associated with an increased risk of cancer of the pancreas.”
   4   Under 21 C.F.R. § 314.3(b), newly acquired information “must conclusively establish,
   5   by scientifically valid measurable and statistically significant data, that the different or
   6   increased risks are actual and real,” rather than “rooted in conjecture and hypothesis.”
   7   Pradaxa Cases, 2019 WL 6043513, at *3; see also McGrath, 393 F. Supp. 3d at 167;
   8   Utts v. Bristol-Myers Squibb Co., 251 F. Supp. 3d 644, 659 (S.D.N.Y. 2017)
   9   (“[L]abeling that includes theoretical hazards not well-grounded in scientific evidence
  10   can cause meaningful risk information to lose its significance”); Supplemental
  11   Application Proposing Labeling Changes for Approved Drugs, Biologics, and
  12   Medical Devices, 73 Fed. Reg. 2848, 2851 (Jan. 16, 2008) (FDA “would not allow a
  13   change to labeling to add a warning in the absence of reasonable evidence of an
  14   association between the product and an adverse event.”). A preliminary analysis
  15   “concluding that it ‘remains unknown’ whether a drug is linked to a particular adverse
  16   reaction or risk or that ‘further studies are required to address possible clinical
  17   consequences’ do[es] not constitute reasonable or well-grounded scientific evidence
  18   of ‘clinically significant adverse effects’ under the CBE regulation. To find otherwise
  19   would permit the ‘inclusion of speculative or hypothetical risks’ absent ‘sufficient
  20   evidence of a causal association’ between the subject drug and the risks associated
  21   with the drug’s use.” Ridings, 2020 WL 1264178, at *15 (quoting Utts, 251 F. Supp.
  22   3d at 659).
  23         Health Canada’s preliminary assessment in 2013 indicating the possibility of a
  24   pancreatic cancer risk—one Health Canada subsequently described as not
  25   substantiated by scientific data—cannot reasonably be considered material to the
  26   FDA’s conclusions about pancreatic safety of sitagliptin, nor does it qualify as “newly
  27   acquired information” under FDA regulation.
  28

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   1            “Clinical trial imbalance.” In plaintiffs’ 2015 opposition to summary
   2   judgment, plaintiffs stated that there was a “clinical trial imbalance of 6 to 3” in
   3   sitagliptin randomized controlled trials.74 Plaintiffs argued that “[r]egardless of
   4   whether FDA actually had clinical trial imbalance information buried in the thousands
   5   of pages of NDA submissions, there is no evidence FDA actually considered the
   6   imbalance,” and therefore preemption should not have been granted to Merck.75
   7           Plaintiffs are incorrect on all counts, and their own statistics expert does not
   8   agree. First, the FDA’s February 2014 New England Journal of Medicine publication
   9   reflects that the Agency considered clinical trial data related to sitagliptin, as well as
  10   other incretin-based therapies, as part of its comprehensive evaluation. See 21 C.F.R.
  11   § 314.3(b) (“Newly acquired information” is defined as “data analyses, or other
  12   information not previously submitted to the [FDA]” that “reveals risk of a different
  13   type or greater severity than previously included in submissions to FDA.”).
  14           Second, also in February 2014, the FDA stated that it intended to pay close
  15   attention to the results of the TECOS study, a nearly 15,000-patient randomized
  16   controlled clinical trial involving sitagliptin. As it turned out, when the study was
  17   completed and published in 2015, TECOS showed that pancreatic cancer occurred in
  18   fewer patients taking sitagliptin (9) than taking the placebo (14)—a risk ratio of 0.66
  19   (95 percent confidence interval 0.28, 1.51).76 In other words, this result demonstrates
  20   the opposite of an increased risk; it suggests, if anything, that sitagliptin may have a
  21   protective effect against pancreatic cancer. Plaintiffs’ expert statistician, Dr. David
  22
       74
  23        Doc. No. 1219 at 19.
       75
            Id. at 19 (citation and emphasis omitted).
  24   76
            Results of clinical studies can be expressed as a point estimate, often a “risk ratio,”
  25        that approximates the relationship between exposure and disease. 1.0 would
            indicate no association—that is, rates of disease are the same with exposure and
  26        without exposure. A number below 1.0, as with the sitagliptin clinical trial data,
  27        indicates a negative association “which could reflect a protective or curative effect
            of the agent on risk of disease.” Fed. Judicial Ctr., Reference Manual on Scientific
  28
            Evidence 566–67 (3d ed. 2011) (attached as Ex. AK to Boehm Decl.).
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   1   Madigan, agreed that TECOS “provide[s] evidence of a protective association”
   2   between sitagliptin and pancreatic cancer.77
   3           Third, the statistical analyses of sitagliptin clinical trial data performed both in
   4   the peer-reviewed medical literature and by experts in this litigation uniformly show
   5   no increased risk of pancreatic cancer. If anything, the data trend in favor of a
   6   protective effect. Plaintiffs’ expert, Dr. David Madigan—plaintiffs’ only expert who
   7   reviewed sitagliptin clinical trial data—found no increased risk:
   8                 Q:     Do you agree that point estimate indicates that the
   9
                            sitagliptin randomized controlled trial data are more
                            compatible with a decreased risk than with an
  10                        increased risk?
  11                 A:     The “more compatible” I don’t understand. I mean, its
  12                        – the point estimate is less than 1. So the point
                            estimate, in and of itself, is evidence, in this case, of a
  13                        protective effect.78
  14
       Dr. Madigan also testified:
  15
                     Q:     [Y]ou are not suggesting that this meta-analysis of the
  16                        randomized control trial data, to a reasonable degree of
                            scientific certainty, establishes that incretin-based
  17
                            therapies cause an increased risk of pancreatic cancer,
  18                        correct?
  19                 A:     Correct, I’m not.79
  20   Plaintiffs decided not to ask Dr. Madigan to update his 2015 analysis of sitagliptin
  21   clinical trials.80 The only two experts in this litigation who have analyzed the
  22   complete set of sitagliptin clinical trial data—Dr. Robert Gibbons and Dr. Andrew
  23   Lowy—share Dr. Madigan’s conclusion that sitagliptin clinical trial data do not reflect
  24
       77
  25        David Madigan, Ph.D. Deposition Tr. (Oct. 19, 2015). at 228:21–229:3 (attached
            as Ex. AL to Boehm Decl.).
  26   78
            Id. (Ex. AL) at 168:20–169:3 (emphases added).
       79
  27        Id. (Ex. AL) at 123:24–124:5 (emphasis added).
       80
            David Madigan, Ph.D. Deposition Tr. (Jan. 29, 2020) at 24:3–24:9 (attached as Ex.
  28
            AM to Boehm Decl.).
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   1   an increased risk of pancreatic cancer and, if anything, trend in favor of a decreased
   2   risk.81
   3             In short, there is no “clinical trial imbalance” for pancreatic cancer in the
   4   sitagliptin clinical trial data—numerical, statistical, or otherwise. Any suggestion by
   5   plaintiffs that the FDA would add a pancreatic cancer warning to sitagliptin’s label
   6   based on sitagliptin clinical trial data is utterly without support.82
   7             The information related to sitagliptin that plaintiffs have advanced as “newly
   8   acquired information” is—even cast in its most favorable light—immaterial to the
   9   FDA Assessment of pancreatic safety. Moreover, neither Health Canada’s
  10   preliminary assessment nor the so-called “clinical trial imbalance” qualifies as “newly
  11   acquired information” under the FDA’s requirements for submitting a CBE.83
  12

  13
  14

  15
  16

  17
       81
            See Supplemental Expert Report of Robert D. Gibbons, Ph.D. (Dec. 16, 2019) at 4
  18        (attached as Ex. AN to Boehm Decl.); Expert Report of Andrew M. Lowy, M.D.
  19        (Dec. 16, 2019) at 18 (attached as Ex. AO to Boehm Decl.).
       82
            Even if this Court were to determine that “newly acquired information” related
  20        strictly to another medication precluded preemption as to that product, plaintiffs
  21        still could not identify “newly acquired information” that either (1) would satisfy
            21 C.F.R. § 314.3(b) requirements for submitting a CBE or (2) would be material
  22        to the FDA’s conclusions about sitagliptin’s pancreatic safety.
       83
  23        A purported numerical imbalance based on an incomplete subset of the overall
            sitagliptin RCT data could not reasonably be considered “newly acquired
  24        information” under FDA regulation justifying submission of a CBE. See, e.g.,
  25        Gibbons, 919 F.3d at 708 (under 21 C.F.R. § 314.3(b), newly acquired information
            “must have reveal[ed] risks of a different type or greater severity or frequency than
  26        previously included in submissions to the FDA”); McGrath, 393 F. Supp. 3d at 170
  27        (“[T]he FDA contemplated that the CBE regulation would be used sparingly,
            noting it would not allow a change to labeling to add a warning in the absence of a
  28
            reasonable evidence of an association between the product and an adverse event.”)
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   1                 2. Exenatide (Byetta)
   2           Plaintiffs argued in opposition to defendants’ 2015 preemption motion that
   3   Amylin and Lilly failed to provide the FDA with certain re-analyses of animal84 data
   4   that plaintiffs’ general causation expert Dr. Clive Taylor performed for purposes of
   5   this litigation.85 But, as discussed in defendants’ accompanying Joint Motion to
   6   Exclude Plaintiffs’ Causation Experts, Dr. Taylor’s testimony should be precluded as
   7   his methodology, which is no longer used in human pathology, is both flawed and
   8   unreliable.86 Moreover, his analysis adds little if anything to the FDA Assessment,
   9   which described that FDA itself had “reevaluated more than 250 toxicology studies
  10   conducted in nearly 18,000 healthy animals (15,480 rodents and 2475 nonrodents).”87
  11   And FDA also had “approximately 120 pancreatic histopathology slides from one of
  12   the three sponsor-conducted studies… subjected to independent and blinded
  13   examination by three FDA pathologists.”88 The FDA even took the extra step of
  14   conducting its own animal toxicology studies with exenatide.89 Plaintiffs can provide
  15   no support for the proposition that their expert’s re-analysis for litigation purposes
  16   should have been reported to the FDA, much less that it would have changed the
  17   FDA’s own extensive evaluation of the animal data, along with multiple other
  18   streams, including over 200 clinical trials, involving approximately 41,000
  19   participants.90 In every case premised on an alleged failure to warn, plaintiffs
  20   presumably will offer some analysis that the warning was inadequate at some point in
  21   time; but characterizing a litigant’s re-analysis as “newly discovered evidence” to
  22   defeat impossibility preemption would turn the standard on its head.
  23
       84
            Specifically, non-human primates.
  24   85
            142 F. Supp. at 1129.
       86
  25        Defs.’ Mem. of Points & Authorities In Support of Mot. to Exclude Plaintiffs’
            Experts Drs. Betensky, Landolph, Woolf, and Taylor (Argument IV).
  26   87
            FDA Assessment (Ex. A) at 795.
       88
  27        Id. (Ex. A) at 795 (emphasis added).
       89
            Id. (Ex. A) at 795–96.
  28   90
            Id. (Ex. A).
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   1           Plaintiffs’ expert’s re-analysis of animal data is hardly the type of material
   2   “newly acquired information” warranting a label change. See McGrath, 393 F. Supp.
   3   3d at 169–70 (finding single study performed on mice does not constitute newly
   4   acquired information); Utts, 251 F. Supp. 3d at 663–69 (medical journal articles and
   5   independent analysis of adverse event data was not newly acquired information as
   6   they did not refer to any new information that would have permitted the defendants to
   7   change the drug label); Roberto v. Boehringer Ingelheim Pharm., No. CPL-
   8   HHDCV16-6068484S, 2019 WL 4806271, at *19 (Conn. Super. Ct. Sep. 11, 2019)
   9   (finding expert testimony unsupported by published research was not newly acquired
  10   information).91 It would be absurd to allow preemption to be defeated by an expert
  11   opinion that never was (or would be) submitted to the FDA. As set forth infra, the
  12   FDA considered hundreds of animal studies and conducted its own analysis of animal
  13   data as part of its Assessment, highlighting how animal studies that did not reveal
  14   cancer were not material.
  15           On remand, plaintiffs have not come forward with any new evidence and, in
  16   fact, have ignored the results of the EXSCEL study, the nearly 15,000-patient
  17   exenatide randomized controlled trial, completed in 201792 and which the FDA noted
  18   in the Assessment had been ongoing.93 In the EXSCEL trial, pancreatic cancer
  19   occurred in fewer patients on exenatide (15) than on placebo (16), a result that is
  20   inconsistent with exenatide use being associated with pancreatic cancer and wholly
  21   inconsistent with the Dr. Taylor’s interpretation of the the animal data. At his 2020
  22   deposition, Dr. Madigan testified that he has never even looked at the EXSCEL
  23
       91
            As Dr. Goldkind testified, “I can’t conceive of a, of an animal study that could,
  24        could change the weight of evidence of 240 studies and dozens of two[-year]
  25        carcinogenicity studies on multiple animal species, I can’t conceive [of] that.” See
            Ex. AG at 112:17–113:1.
  26   92
            Rury R. Holman, et al., Effects of Once-Weekly-Exenatide on Cardiovascular
  27        Outcomes in Type 2 Diabetes, N. Engl. J. Med. 377:1228 (Sept. 2017) (“EXSCEL
            study”) (attached as Ex. AP to Boehm Decl.).
  28   93
            See FDA Assessment (Ex. A).
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   1   paper.94 Moreover, plaintiffs’ newly designated biostatistics expert, Dr. Martin Wells,
   2   testified that including the EXSCEL results in his analysis of exenatide clinical trials
   3   yielded a result for pancreatic cancer that is “consistent with no increased risk.”95
   4   Thus, far from supporting the addition of a pancreatic cancer warning for exenatide,
   5   plaintiffs’ purported “newly acquired information” is consistent with the FDA’s
   6   conclusion in the Assessment that a label change to add a pancreatic cancer warning is
   7   not warranted.96
   8                 3. Liraglutide (Victoza)
   9           In 2015, plaintiffs argued that Novo did not provide the FDA with the results of
  10   a post-hoc,97 exploratory analysis of rat tissue that attempted to look at the effect of
  11   liraglutide treatment on a normal compartment of the pancreas, known as pancreatic
  12   duct glands (PDGs). That is true. Although the results of the primary study were
  13   published and shared with the FDA, Novo did not submit the post-hoc PDG analysis
  14   to the FDA. Dr. Knudsen, the lead Novo researcher on the study, explained at her
  15   deposition that the results of the post-hoc analysis never were finalized, published, or
  16

  17
  18
       94
  19        See Madigan 2020 Tr. (Ex. AM) at 207:1–207:6, 234:16–234:22.
       95
            See Martin T. Wells Deposition Tr. (Jan. 22, 2020), at 77:4–77:19 (attached as Ex.
  20        AQ to Boehm Decl.). Defendants simultaneously are moving to preclude Dr.
  21        Madigan’s and Dr. Wells’s testimony on Daubert grounds, as their opinions are
            dependent on a result-driven methodology that relies on unqualified and
  22        unscientific cherry-picking of studies. Defs.’ Mem. of Points & Authorities In
  23        Support of Mot. to Exclude Plaintiffs’ Causation Experts Drs. Madigan, Wells,
            Brown and Gale (Arguments I(A) – (B)).
  24   96
            Even if this Court were to determine that “new safety information” related strictly
  25        to another medication precluded preemption as to that product, plaintiffs still could
            not identify “newly acquired information” that either (1) would satisfy 21 C.F.R.
  26        § 314.3(b) requirements for submitting a CBE or (2) would be material to the
  27        FDA’s conclusions about exenatide’s pancreatic safety.
       97
            A post-hoc analysis refers to a subsequent analysis performed on a data set that has
  28
            already been collected and analyzed for primary outcomes.
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   1   medications and reiterated that the medications do not appear to have any over
   2   pancreatic toxicity:
   3                  An evaluation of nonclinical assessments supporting
                      marketing applications for incretin-based drugs by the FDA
   4
                      and the European Medicines Agency that included more than
   5                  250 toxicology conducted in approximately 18,000 healthy
                      animals (15,480 rodents and 2,475 nonrodent mammals)
   6
                      showed no overt pancreatic toxicity or pancreatitis (Egan
   7                  2014). In lifetime rodent carcinogenicity studies, there were
                      no incretin-based drug-related pancreatic tumors in mice or
   8
                      rats, even at high multiples of human exposure. FDA also
   9                  required sponsors of marketed incretin-based drugs to
                      evaluate pancreatic toxicity in 3-month studies in rodent
  10
                      models of T2DM, and no drug-related adverse effects were
  11                  reported, including the study of liraglutide in ZDF rats
                      conducted by Novo Nordisk to satisfy a nonclinical
  12
                      postmarketing requirement.       In the absence of overt
  13                  pancreatic injury from incretin-based therapies in healthy
  14
                      animals or rodent models of T2DM, the FDA no longer
                      routinely requires sponsors developing incretin-based
  15                  therapies to perform dedicated pancreatic safety studies in
  16
                      rodents.105
       Considering the scope of evidence considered by the FDA, it is beyond the pale to
  17
       believe that the Agency would change its ultimate conclusions based on inconsistent
  18
       findings regarding proliferation of normal cells, generated from a single post-hoc
  19
       analysis of a study that found no pancreatic cancer, no pre-cancerous lesions, and no
  20
       overt pancreatic toxicity in rats treated with liraglutide. Certainly, neither plaintiffs
  21
       nor their experts have provided any basis for the Court to make such inference.
  22
       Tellingly, none of plaintiffs’ causation experts cited the PDG analysis of rat tissue in
  23
       their reports or even mentioned it at their deposition.
  24
                No amount of cherry-picking of study findings by plaintiffs’ counsel, or
  25
       allegations about what the FDA might do with some specific piece of animal data, can
  26
       alter what the FDA actually has done and continues to do to this day. Over the past
  27
  28   105
             FDA June 2017 Briefing Document (Ex. AS) at 20–21.
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   1   decade, the FDA has reviewed results from hundreds of pre-clinical studies, dozens of
   2   clinical trials (including LEADER in humans), and numerous observational studies (in
   3   humans, taking liraglutide under real-world conditions).106 As with any large body of
   4   data, imbalances occasionally were seen in studies (some favoring incretins and some
   5   not) and pathologic findings rarely were observed in some animals.107 The FDA has
   6   followed this data as it accumulated over time and consistently has concluded that the
   7   totality of evidence does not support (1) a causal relationship between liraglutide (and
   8
   9
  10   106
             Based on plaintiffs’ questioning of Novo fact and expert witnesses, Novo expects
  11         plaintiffs also will argue that the results of the Humedica study represent “new
             safety information” that would have altered the FDA’s conclusion. The Humedica
  12         study was an observational study that attempted to assess the incidence of
  13         pancreatic cancer in a population of patients who had type 2 diabetes and had risk
             factors similar (at least to some extent) to those in LEADER. The study did not
  14         evaluate pancreatic cancer risk with liraglutide, and none of the patients included
  15         in the study actually took the medication. Plaintiffs’ own expert, Dr. Madigan,
             declined to rely on the Humedica data for his opinion, noting that any attempt to
  16         compare the incidence rates in Humedica to those in LEADER would be highly
  17         problematic: “So are there limitations with such comparisons? You betcha
             there are, and I’m not considering there are. I’m just observing, you know, how
  18         it turned out.” (Madigan 2020 Tr., Ex. AM, at 80:12–80:17; 198:8–198:21).
       107
  19         Novo similarly expects plaintiffs to argue that incidental pancreatic findings in
             certain animal studies suffice as “new safety information.” These isolated findings
  20         in rats and mice in studies not designed to assess pancreatic safety are not evidence
  21         of a treatment effect. Indeed, it is well-recognized there is a significant
             background rate of pancreatic findings in rodents, without any exposure to
  22         incretin-based therapies. See K. Chadwick, et al, Occurrence of Spontaneous
  23         Pancreatic Lesions in Normal and Diabetic Rats: A Potential Confounding Factor
             in the Nonclinical Assessment of GLP-1–Based Therapies, Diabetes 63(4), 1303–
  24         14 (Apr. 2014) (attached as Ex. AU to Boehm Decl.). Moreover, none of the
  25         animals in these studies developed pancreatic cancer or even pre-cancerous lesions.
             As such, the “new safety information” plaintiffs may identify in their opposition
  26         does not provide any evidence to suggest Victoza causes pancreatic cancer, nor
  27         could it reasonably provide a basis for the FDA to alter the findings of its
             comprehensive and continuous assessment of the pancreatic safety of incretin-
  28
             based therapies.
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   1   other incretin-based medications) and pancreatic cancer or (2) “incorporation of
   2   changes regarding the potential pancreatic cancer signal in product labeling.”108
   3            The FDA has put this conclusion into action by approving additional incretin-
   4   based therapies and expanding indications for existing medications without including
   5   any information regarding pancreatic cancer in the labeling. In particular, in August
   6   2017, the FDA approved an additional cardiovascular risk reduction indication for
   7   Victoza, and in June 2019, approved use of Victoza in pediatric patients 10 years old
   8   and over, making liraglutide, an incretin-based therapy, the first non-insulin drug
   9   approved to treat type 2 diabetes in children since 2000.109 The FDA did so after
  10   conducting a thorough review of the pancreatic safety of liraglutide in 2017 and
  11   without including any information on pancreatic cancer in the labeling, again
  12   underscoring the pancreatic safety of these therapies. Considering this history and the
  13   FDA’s labeling mandate under FDAAA, it is clear that the FDA would not approve a
  14   pancreatic cancer warning for liraglutide or for any other incretin-based therapy.
  15   “FDA’s continued inaction does represent clear evidence under these facts.”110
  16                                         CONCLUSION
  17            The FDA has been focused for many years on the central question at issue in
  18   this litigation—whether the labeling for defendants’ drugs should include a pancreatic
  19   cancer warning.111 It is and has been the FDA’s position that the scientific evidence
  20   does not support a pancreatic cancer warning, and there is clear evidence that the FDA
  21   would reject the addition of such a warning pursuant to its regulatory requirements.
  22
  23

  24   108
             FDA June 2017 Briefing Document (Ex. AS) at 129.
       109
  25         See FDA Label Updates for Victoza, dated June 2019 (Ex. AC); see also Ex. AF.
       110
             Ridings, 2020 WL 1264178, at *21 (W.D. Mo. Mar. 16, 2020) (emphasis in
  26         original).
       111
  27         Fleming Tr. (Ex. B) 122:23–123:1 (“Q: Dr. Fleming, do you agree that the FDA
             has closely monitored a potential signal for pancreatic cancer for several years
  28
             now? A: Yes.”).
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   1         For the reasons set forth above, defendants respectfully request that this Court
   2   grant summary judgment on all counts on the basis of conflict preemption.
   3   April 22, 2020                      Respectfully submitted,
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